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   1  RIMON, P.C.
     Mark Lee (SBN 94103)
   2 mark.lee@rimonlaw.com
     2029 Century Park East, Suite 400N
   3 Los Angeles, California 90067
     Telephone/Facsimile: 213.375.3811
   4
     RIMON, P.C.
   5 Zheng Liu (SBN: 229311)
     zheng.liu@rimonlaw.com
   6 800 Oak Grove Avenue, Suite 250
     Menlo Park, California 94025
   7 Telephone/Facsimile: 650.461.4433
   8 Attorneys for Defendants
     INTERFOCUS INC. d.b.a. www.patpat.com
   9
  10                       UNITED STATES DISTRICT COURT
  11        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  12
  13 NEMAN BROTHERS & ASSOC.,                     Case No. 2:20-cv-11181-CAS-JPRC
     INC., a California Corporation,
  14                                              DEFENDANT AND
                  Plaintiff,                      COUNTERCLAIM PLAINTIFF
  15                                              INTERFOCUS, INC. D.B.A.
           v.                                     WWW.PATPAT.COM’S
  16                                              RESPONSE TO PLAINTIFF,
     INTERFOCUS, INC. d.b.a.                      NEMAN BROTHERS & ASSOC.,
  17 www.patpat.com, a Delaware                   INC.’S EVIDENTIARY
     Corporation; CAN WANG, and                   OBJECTIONS TO DECLARATION
  18 individual, and DOES 1-10, inclusive.,       OF MARK LEE
  19               Defendants.                    Date: August 23, 2021
                                                  Time: 10:00 am
  20                                              Courtroom: 8D
     INTERFOCUS, INC. d.b.a.
  21 www.patpat.com, a Delaware
     Corporation; CAN WANG, an
  22 individual, and DOES 1-10, inclusive,        The Hon. Christina A. Snyder
  23               Counterclaim Plaintiffs,
  24        v.
  25 NEMAN BROTHERS & ASSOC.,
     INC., a California Corporation,
  26
                  Counterclaim Defendant.
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         INTERFOCUS, INC. D.B.A. WWW.PATPAT.COM’S RESPONSE TO PLAINTIFF, NEMAN BROTHERS &
                ASSOC., INC.’S EVIDENTIARY OBJECTIONS TO DECLARATION OF MARK LEE
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   1         Plaintiff, NEMAN BROTHERS & ASSOC., INC. objects to certain portions
   2 of the Declaration of Mark Lee and related exhibits submitted by Defendant,
   3 INTERFOCUS, INC. in Opposition to Defendant’s Motion for Summary Judgment
   4 and Motion for Partial Summary Judgment on Counterclaim when Defendant filed
   5 its reply briefs herein. Plaintiff’s objections should be overruled for the following
   6 reasons:
   7 I.      RESPONSE TO OBJECTIONS TO THE DECLARATION OF MARK
             LEE
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   9
             1.     Objection to Paragraph No. 2
  10
             Irrelevant.
  11
                    A.     Paragraph No. 2
  12
             On June 4, 2021, I personally searched the Westlaw database of look for
  13
       copyright infringement suits brought by Neman Brothers & Associates, Inc. The
  14
       Westlaw database includes various kinds of information, including information on
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       complaints filed in the Central District of California. An online search of this
  16
       Court’s Docket as recorded in the Westlaw database using the “Neman Brothers”
  17
       and “copyright” search terms revealed 94 such complaints. A true and correct copy
  18
       of the listing I printed out from my search is attached as Exhibit 1.
  19
                    B.     Interfocus’ Response
  20
             This paragraph lays the foundation for evidentiary support to the fact that
  21
       Neman Brothers has filed almost a hundred copyright infringement actions in this
  22
       Court, virtually all involving fabric patterns on garments manufactured in China,
  23
       and settled almost all of them on confidential terms. This evidence is relevant to
  24
       determining the extent to which Plaintiff is engaged in legitimate activities
  25
       involving its copyright works, as opposed to “aggressively suing for and obtaining
  26
       accelerated discovery” to obtain “quick our-of-court settlements which, because
  27
       they are hidden, raise serious question about misuse of court procedure.” Malibu
  28
                                                  2
          INTERFOCUS, INC. D.B.A. WWW.PATPAT.COM’S RESPONSE TO PLAINTIFF, NEMAN BROTHERS &
                 ASSOC., INC.’S EVIDENTIARY OBJECTIONS TO DECLARATION OF MARK LEE
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   1 Media, LLC v. Doe, No. 15 CIV. 4369 AKH, 2015 WL 4092417, *2-3 (S.D.N.Y.
   2 July 6, 2015)
   3            2.    Objection to Paragraph No. 3
   4        Irrelevant
   5                 A.   Paragraph No. 3
   6        After printing out Exhibit 1, I manually reviewed over 20 of the complaints,
   7 and briefly reviewed the dockets of proceedings in the actions initiated by those
   8 complaints. The complaints and actions I reviewed all involved copyright
   9 infringement suits brought by Neman Brothers, which identified itself as a
  10 California corporation, against retailers or other defendants who were alleged to
  11 have infringed Neman Brothers’ copyrights in fabric designs for goods
  12 manufactured in China. The dockets of the actions I reviewed indicated that they
  13 were all settled on confidential terms.
  14                 B.   Interfocus’ Response
  15        This paragraph lays the foundation for evidentiary support to the fact that
  16 Neman Brothers has filed almost a hundred copyright infringement actions in this
  17 Court, virtually all involving fabric patterns on garments manufactured in China.
  18 This evidence is relevant to determining the extent to which Plaintiff is engaged in
  19 legitimate activities involving its copyright works, as opposed to “aggressively
  20 suing for and obtaining accelerated discovery” to obtain “quick our-of-court
  21 settlements which, because they are hidden, raise serious question about misuse of
  22 court procedure.” Malibu Media, LLC v. Doe, No. 15 CIV. 4369 AKH, 2015 WL
  23 4092417, *2-3 (S.D.N.Y. July 6, 2015)
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         INTERFOCUS, INC. D.B.A. WWW.PATPAT.COM’S RESPONSE TO PLAINTIFF, NEMAN BROTHERS &
                ASSOC., INC.’S EVIDENTIARY OBJECTIONS TO DECLARATION OF MARK LEE
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   1                                           RIMON, P.C.
   2 Dated: August 2, 2021
   3                                       By: /s/ Mark S. Lee
   4                                           Mark S. Lee
                                               Zheng Liu
   5
                                               Attorneys for Defendants and
   6                                           Counterclaim Plaintiffs
   7                                           INTERFOCUS, INC. d.b.a.
                                               www.patpat.com
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         INTERFOCUS, INC. D.B.A. WWW.PATPAT.COM’S RESPONSE TO PLAINTIFF, NEMAN BROTHERS &
                ASSOC., INC.’S EVIDENTIARY OBJECTIONS TO DECLARATION OF MARK LEE
